Case 17-10941-jkf   Doc 110   Filed 08/31/18 Entered 08/31/18 12:47:28   Desc Main
                              Document      Page 1 of 4
Case 17-10941-jkf   Doc 110   Filed 08/31/18 Entered 08/31/18 12:47:28   Desc Main
                              Document      Page 2 of 4
Case 17-10941-jkf   Doc 110   Filed 08/31/18 Entered 08/31/18 12:47:28   Desc Main
                              Document      Page 3 of 4
Case 17-10941-jkf   Doc 110   Filed 08/31/18 Entered 08/31/18 12:47:28   Desc Main
                              Document      Page 4 of 4
